Case 2:10-md-02179-CJB-DPC Document 3435-2 Filed 07/25/11 Page1of1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL. NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J
on APRIL 20, 2010
JUDGE BARBIER

This Document Reiates to:

Amelia Mai, et al. v.
BP PLC, et al
EDLA No. 10-3190

MAG. JUDGE SHUSHAN

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ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs THAM NGUYEN, HOA LE, HONG
DONG, HAI DINH, THANH THI, and DUNG HUYNH’S Motion for Leave of Court to
Voluntarily Dismiss Claims Without Prejudice is hereby in all things is GRANTED.

If IS FURTHER ORDERED THAT that the claims of Plaintiffs THAM NGUYEN,
HOA LE, HONG DONG, HAI DINH, THANH THI, and DUNG HUYNH only, as listed on
Exhibit “A” attached to said Motion are hereby dismissed without prejudice. This Order
in no way affects the claims of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
